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                                                 U.S. Department of Justice


                                                 Criminal Division



 Fraud Section                                   Bond Building
                                                 1400 New York Ave., NW
                                                 Washington, D.C. 20530
                                                 Direct dial: 202.514,6220


                                                 October 23, 2023
                                                                               R£C^D
Jeffrey Lichtman, Esq.                                                       DEC
Law Offices of Jeffrey Lichtman                                                      / 3 2023
11 East 44th Street
Suite 501
New York, New York 10017
                                                                             ^^'      r^OG£



                 Re: Plea Agreement with Bomch "Barry" Drillman


Dear Mr. Lichtman:

        This letter sets forth the plea agreement between your client, Boruch Barry"
Drillman (Defendant), the Fraud Section of the Department of Justice, and the
United States Attorney for the District of New Jersey ("the Government"). This offer
will expire on October 25, 2023, if it is not accepted in writing by that date. If
Defendant does not accept this plea agreement, his sentencing exposure could
increase beyond what is discussed in this plea agreement as a result of the
G-overnment's investigation.


Charge

        Conditioned on the understandings specified below, the Government will
accept a guilty plea from Defendant to a single Count Information, which charges
Defendant with Conspiracy to Commit Wire Fraud Affecting a Financial Institution.
If Defendant enters a guilty plea and is sentenced on this charge and otherwise
fully complies with this agreement, the Government will not initiate any further
criminal charges against Defendant for a conspiracy to commit commercial
mortgage fraud by means of material false representations to financial institutions
between 2018-2020.

        But if a guilty plea in this matter is not entered for any reason or a guilty
plea or judgment of conviction entered in accordance with this agreement does not
remain in full force and effect, the Government may initiate any other charges
against Defendant even if the applicable statute of limitations period for those
charges expires after Defendant signs this agreement, and Defendant agrees not to
assert that any such charges are time-barred.
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Sentencing

      The violation of Title 18 U.S.C. Section 371 to which Defendant agrees to
plead guilty to the single Count of the Information carrying the penalty of a
statutory maximum prison sentence of 5 years and a statutory maximum fine of not
more than $250,000, or twice the gain or loss, whichever is greater. Fines imposed
by the sentencing judge may be subject to the payment of interest.

      The sentence to be imposed upon Defendant is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act, 18
U.S.C. §§ 3551-3742, and the sentencing judge's consideration of the United States
Sentencing Guidelines. Those Guidelines are advisory, not mandatory. The
sentencing judge may impose any reasonable sentence up to and including the
statutory maximum term of imprisonment and the maximum statutory fine. The
Government cannot and does not make any representation or promise as to what
Guidelines range may be found by the sentencing judge, or as to what sentence
Defendant ultimately will receive.


      Further, in addition to imposing any other penalty on Defendant, the
sentencing judge as part of the sentence:

      (1) will order Defendant to pay an assessment of $100 pursuant to 18
             U.S.C. § 3013, which assessment must be paid by the date of
             sentencing;


      (2) must order Defendant to pay restitution pursuant to 18 U.S.C. § 3663;


      (3) order Defendant, pursuant to 18 U.S.C. § 3555, to give reasonable
             notice and explanation of the conviction to any victims of his offense;


      (4) must order forfeiture, pursuant to 18 U.S.C. § 982;


      (5) pursuant to 18 U.S.C. § 3583 must require Defendant to serve a term
             of supervised release of not more than 3 years which will begin at the
             expiration of any term of imprisonment imposed. Should Defendant be
             placed on a term of supervised release and subsequently violate any of
             the conditions of supervised release before the expiration of its term,
             Defendant may be sentenced to not more than 3 years' imprisonment
             in addition to any prison term previously imposed, regardless of the
             statutory maximum term of imprisonment set forth above and without
             credit for time previously served on post-release supervision, and may
             be sentenced to an additional term of supervised release.




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Restitution

          Defendant understands, and has fully discussed with Defendant s attorney,
that the Court shall order total restitution in this case pursuant to 18 U.S.C.
§ 3663A and that Defendant agrees to pay the restitution ordered by the Court
whether to an identifiable victim or the community. Defendant agrees that the
total amount of restitution reflected in this Plea Agreement results from
Defendant's conduct as described in the Information to which the Defendant is
entering a plea of guilty.


          Defendant agrees that if any restitution is ordered by the Court under 18
U.S.C. § 2259, the amount of restitution ordered by the Court shall include
Defendant's total offense conduct. Defendant agrees and understands that any
payment schedule imposed by the Court is without prejudice to the United States to
take all actions and take all remedies available to it to collect the full amount of the
restitution.


          Defendant agrees that the restitution, restitution judgment, payment
provisions, and collection actions of this Plea Agreement are intended to, and will,
survive Defendant, notwithstanding the abatement of any underlying criminal
conviction after the execution of this agreement. Defendant further agrees that any
restitution collected and/or distributed will survive him, notwithstanding the
abatement of any underlying criminal conviction after the execution of this
agreement.


          The restitution described above shall be paid through the Office of the Clerk
of the District Court by bank or cashier's check or money order made payable to the
"Clerk, United States District Court."


Forfeiture

      As part of Defendant s acceptance of responsibility, and pursuant to 18 U.S.C.
§ 982, Defendant agrees to forfeit to the United States all of right, title, and interest
in any property, real or personal, which constitutes or was derived from proceeds
Defendant obtained that are traceable to the offense(s) charged in the Information.
Defendant further acknowledges that one or more of the conditions set forth in 21
U.S.C. § 853(p) exists; and that the United States is entitled to forfeit substitute
assets equal to the value of the proceeds obtained by the defendant. Defendant
consents to the entry of an order requiring Defendant to pay the Mxmey Judgment,
in the manner described below (the "Order"), and that the Order will be final as to
Defendant prior to sentencing, pursuant to Rule 32.2(b)(4) of the Federal Rules of
Criminal Procedure, and which may be satisfied in whole or in part with substitute
assets.




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Rights of the Government Regarding Sentencing

       Except as otherwise provided in this agreement, the Government may take
any position with respect to the appropriate sentence to be imposed on Defendant
by the sentencing judge. The Government may also correct any misstatements
relating to the sentencing proceedings and provide the sentencing judge and the
United States Probation Office all law and information relevant to sentencing,
favorable or otherwise. And the Government may inform the sentencing judge and
the United States Probation Office of: (1) this agreement; and (2) the full nature and
extent of Defendant's activities and relevant conduct with respect to this case.

Stipulations

       The Government and Defendant will stipulate at sentencing to the
statements set forth in the attached Schedule A, which is part of this plea
agreement. Both parties understand that the sentencing judge and the United
States Probation Office are not bound by those stipulations and may make
independent factual findings and may reject any or all of the parties' stipulations.
Nor do these stipulations restrict the parties' rights to respond to questions from
the Court and to correct misinformation that has been provided to the Court.


      This agreement to stipulate on the part of the Government is based on the
information and evidence that the Government possesses as of the date of this
agreement. Thus, if the Government obtains or receives additional evidence or
information prior to sentencing that it believes materially conflicts with a Schedule
A stipulation, that stipulation shall no longer bind the Government. A
determination that a Schedule A stipulation is not binding shall not release the
parties from any other portion of this agreement, including any other Schedule A
stipulation.


      If the sentencing court rejects a Schedule A stipulation, both parties reserve
the right to argue on appeal or at post-sentencing proceedings that the sentencing
court did so properly. Finally, to the extent that the parties do not stipulate to a
particular fact or legal conclusion in this agreement, each reserves the right to
argue how that fact or conclusion should affect the sentence.


Waiver of Appeal and Post-Senfcencine Rights

      As set forth in Schedule A and the paragraph below, the Government and
Defendant waive certain rights to appeal, collaterally attack, or otherwise challenge
the judgment of conviction or sentence.




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       Defendant understands that, if Defendant is not a citizen of the United
States, Defendant's guilty plea to the charged offense will likely result in Defendant
being subject to immigration proceedings and removed from the United States by
making Defendant deportable, excludable, or inadmissible, or ending Defendant s
naturalization. Defendant understands that the immigration consequences of this
plea will be imposed in a separate proceeding before the immigration authorities.
Defendant wants and agrees to plead guilty to the charged offense regardless of any
immigration consequences of this plea, even if this plea will cause Defendant's
removal from the United States. Defendant understands that Defendant is bound
by this guilty plea regardless of any immigration consequences. Accordingly,
Defendant waives any right to challenge the guilty plea, sentence, or both based on
any immigration consequences. Defendant also agrees not to seek to withdraw this
guilty plea, or to file a direct appeal, or any kind of collateral attack challenging the
guilty plea, conviction, or sentence, based on any immigration consequences of the
guilty plea or sentence,

Other Provisions

      This agreement is limited to the Fraud Section of the Department of Justice
and the United States Attorney's Office for the District of New Jersey and cannot
bind other federal, state, or local authorities. If requested to do so, however, the
Government will bring this agreement to the attention of other prosecuting offices.

      This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against Defendant. So
this agreement does not prohibit the United States, any agency thereof (including
the Internal Revenue Service and Immigration and Customs Enforcement) or any
third party from initiating or prosecuting any civil or administrative proceeding
against him.




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      No provision of this agreement shall preclude Defendant from pursuing in an
appropriate forum, when permitted by law, a claim that he received constitutionally
ineffective assistance of counsel.

?_0ther Promises

      This agreement constitutes the entire plea agreement between Defendant
and the Government and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.



                                               Very truly yours,

                                               PHILIP R. SELLINGER
                                               United States Attorney




                                       By: Martha Nye
                                            Assistant United States Attorney



                                               GLENN S. LEON
                                               Chief, Fraud Section
                                               Criminal Division




                                       By: BaBasijibomi Moore
                                             Trial Attorney
APPROVED:




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       I have received this letter from my attorney, Jeffrey Lichtman, Esq. I have
read it. My attorney and I have reviewed and discussed it and all of its provisions,
including those addressing the charge, sentencing, stipulations (including the
attached Schedule A), waiver, forfeiture, restitution, and immigration consequences.
I understand this letter fully and am satisfied with my counsel's explanations. I
accept its terms and conditions and acknowledge that it constitutes the plea
agreement between the parties. I understand that no additional promises,
agreements, or conditions have been made or will be made unless set forth in
writing and signed by the parties. I want to plead guilty pursuant to this plea
agreement.


AGREED A?ACCEPTED:



                                               Date: \(^[^ ^-S
Boru^h "Barry"*T5nITman
Defendant




      I have reviewed and discussed with my client this plea agreement and all of
its provisions, including those addressing the charge, sentencing, stipulations
(including the attached Schedule A), waiver, forfeiture, restitution, and immigration
consequences. My client understands this plea agreement fully and wants to plead
guilty pursuant to it.




                                               Date:    ( y -^r- --^J
Jefferey Lichtman, Esq.
Counsel for Defendant




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                              Plea Agreement with Boruch "Barry" Drillman


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           1. The Government and Defendant recognize that the United States
 Sentencing Guidelines do not bind the sentencing judge. Each party nevertheless
 agrees to these stipulations.

           2. The version of the Guidelines effective November 1, 2021 applies in
this case.1


           3. The applicable guideline is U.S.S.G. § 2Bl.l(a)(2)). This guideline
carries a Base Offense Level of 6.

                     Loss (U.S.S.G. § 2Bl.l(b)(l)(k)) (loss $9.5MM-$26MM) +20

                     Sophisticated Means 2Bl.l(b)(10) +2

                     Derived more than $1,000,000 from a financial institution +2

           4. As of the date of this letter, Defendant has assisted authorities in the
investigation or prosecution of his own misconduct by timely notifying authorities of
his intention to enter a plea of guilty, thereby permitting the Government to avoid
preparing for trial and permitting the Government and the court to allocate their
resources efficiently. At sentencing, the Government will move for a further 1-point
reduction in Defendant's offense level pursuant to U.S.S.G. § 3El.l(b) if the
following conditions are met: (a) Defendant enters a plea pursuant to this
agreement, (b) the Government, in its discretion, determines that Defendant s
acceptance of responsibility has continued through the date of sentencing and
Defendant therefore qualifies for a 2-point reduction for acceptance of responsibility
pursuant to U.S.S.G. § 3E 1.1 (a), and (c) Defendant's offense level under the
Guidelines prior to the operation of § 3El.l(a) is 16 or greater.

          5. Accordingly, the parties agree that the total Guidelines offense level
applicable to Defendant is 30 (the "Total Offense Level").

          The parties agree not to advocate for any upward or downward adjustment or
departure from the Guidelines range resulting from (a) the Total Offense Level and
(b) the criminal history category that the sentencing judge applies under Chapter 4
of the Guidelines without any departure or variance. But each party may seek a
variance from that Guidelines range, which the other party may oppose.




          If the defendant qualifies for the 2-point reduction contemplated in proposed guideline §401.1, the United States

will not object to the application of the reduction.

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         If the term of imprisonment does not exceed 60 months, and except as
specified in the next paragraph below, Defendant will not challenge or seek to
reduce by any means any component of the sentence imposed by the sentencing
judge for any reason other than ineffective assistance of counsel. The term any
means" includes a direct appeal under 18 U.S.C. § 3742 or 28 U.S.C. § 1291, a
motion to vacate the sentence under 28 U.S.C. § 2255, a motion to reduce the term
of imprisonment under 18 U.S.C. § 3582(c)(l)(B) or (c)(2), a motion, for early
termination of supervised release under 18 U.S.C. § 3583(e)(l), and any other
appeal, motion, petition, or writ, however captioned, that seeks to attack or modify
any component of the sentence. The provisions of this paragraph bind the parties
even if the sentencing judge employs a Guidelines analysis different from the one
above.


         6. Both parties reserve the right to file or to oppose any appeal, collateral
attack, writ or motion not barred by the preceding paragraph or any other provision
of this plea agreement. Moreover, the preceding paragraph does not apply to:

               (a) Any proceeding to revoke the term of supervised release.

               (b) A motion to reduce the term of imprisonment under 18 U.S.C,
                     § 3582(c)(l)(A).

               (c) An appeal from the denial of a § 3582(c)(l)(A) motion on the
                     grounds that the court erred in finding no extraordinary and
                     compelling circumstances warranting a reduced term of
                     imprisonment or that the court failed to consider those
                     circumstances as a discretionary matter under the applicable
                     factors of 18 U.S.C. § 3553(a).




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